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   MINUTE ENTRY
   TERRY A. DOUGHTY
   U.S. DISTRICT COURT JUDGE
   July 7, 2023

                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

  STATE OF MISSOURI ET AL                               CIVIL ACTION NO. 22-cv-1213

  VERSUS                                                JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                               MAG. JUDGE KAYLA D. MCCLUSKY

          On July 6, 2023, Defendants filed a Motion to Stay Preliminary Injunction Pending Appeal

   and, Alternatively, for Administrative Stay [Doc. No. 297]. Defendants request expedited

   consideration of the Motion. Accordingly, Plaintiffs may file a response to the Motion on or before

   Monday, July 10, 2023, at 8:00 a.m.

                                                 TAD
